Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 1 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 2 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 3 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 4 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 5 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 6 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 7 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 8 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19    Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents   Page 9 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 10 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 11 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 12 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 13 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 14 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 15 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 16 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 17 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 18 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 19 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 20 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 21 of 23
Case 18-36375-KLP    Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51   Desc
                    Exhibit(s) Loan Documents Page 22 of 23
Hanover County geographic Information Access System
  Case 18-36375-KLP Doc 11-1 Filed 01/24/19 Entered 01/24/19 13:22:51       Desc
                        Exhibit(s) Loan Documents Page 23 of 23



 Hanover County, Virginia
    • Home
    • About Hanover County
    • Contact

                                                                                   
 Selected Record

 Parcel ID
 Owner: GREEN, GRANVILLE L
 Mailing Address: 9123 COLONNADE
 CIRCLE
 Mailing City/State: ASHLAND VA
 Mailing Zip: 23005                            Property House #: 9123
 Property Street Name: COLONNADE
 CIRCLE
 Apt/Suite:                                    Acreage: 1
 Zoning Class: RC                              Deed Book: 1041
 Sale Price/Date:                              Deed Page: 1238
                                               Old Parcel:
 Subdivision: HICKORY HILL                     Lot/Block/Section: LOT 2 SEC 2
 Census Tract:                                 SSA:
 Land value ($): 120000                        Land Use Value ($): 0
 Improvement value ($): 265000                 Total Value ($): 385000
 Election District: Beaverdam                  Precinct: Courthouse
 Polling Place: County Administration Building Elementary School: Kersey Creek
 Middle School: Oak Knoll                      High School: Hanover High
 Last Sale Price: 353366                       Last Sale Date: 1012
                                               Grantor Last Name: ROYAL DOMINION
 Grantor First Name:
                                               HOMES INC
 Year Built: 2012                              Stories: 2 Story
 Roof: Composition Shingle                     Exterior Wall: Vinyl Siding
 Assessment Area: 080300                       Foundation Type: Crawl
 Foundation Construction: Brick                Finished Basement %: 0
 Basement Garage: No Basement Garage           Basement Garage Doors: N
 Rooms: 8                                      Bedrooms: 4
 Baths: 2                                      Half Baths: 1
 Interior Finish: Sheet Rock                   Heat Type: Heat Pump
 Central Air: Central A/C                      Fireplaces: 0
 Fireplace Type: None                          Misc. Improvements 1:               
 Finished Area: 0                              Unfinished Area: 0
                                                                           


http://www.hanovercountygis.org/DataOnly/SearchParcel.aspx
